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 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
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     Telephone: (559) 487-5561
 5
 6   Attorney for Defendant
     CHRISTINA MARTINEZ
 7
 8
 9                               IN THE UNITED STATES DISTRICT COURT
10                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                    )       No. 1:15-cr-00046 LJO-SKO-1
                                                  )
13                  Plaintiff,                    )       STIPULATION TO CONTINUE
                                                  )       SENTENCING AND ORDER
14          v.                                    )
                                                  )
15   CHRISTINA ANTONIA MARTINEZ,                  )       DATE: January 8, 2018
                                                  )       TIME: 8:30 a.m.
16                  Defendant.                    )       JUDGE: Hon. Lawrence J. O’Neill
                                                  )
17                                                )
18
19          IT IS HEREBY STIPULATED by and between the parties, through their respective
20   counsel, that the sentencing hearing scheduled for October 16, 2017, may be continued to
21   January 8, 2018, or the soonest date thereafter convenient to the Court.
22          The father of Ms. Martinez received a kidney transplant approximately ten years ago and
23   has been extremely ill recently. Her father has an appointment with a kidney specialist in the
24   San Francisco Bay area scheduled for October 16, 2017, and Ms. Martinez would like to
25   accompany her father to that appointment. In addition, this continuance is requested to allow the
26   parties additional time to gather relevant information that should be considered by the Court
27   prior to imposing sentence.

28   ///
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 1           The parties agree that the delay resulting from this continuance shall be excluded in the
 2   interest of justice, for effective defense investigation and preparation, pursuant to 18 U.S.C. §
 3   3161(h)(7)(A).
 4                                                                 Respectfully submitted,
 5                                                                 PHILLIP A. TALBERT
                                                                   United States Attorney
 6
 7   DATED: October 11, 2017                                By     /s/ Kathleen A. Servatius
                                                                   KATHLEEN A. SERVATIUS
 8                                                                 Assistant United States Attorney
                                                                   Attorney for Plaintiff
 9
10                                                                 HEATHER E. WILLIAMS
                                                                   Federal Defender
11
12   DATED: October 11, 2017                                By     /s/ Eric V. Kersten
                                                                   ERIC V. KERSTEN
13                                                                 Assistant Federal Defender
                                                                   Attorney for Defendant
14                                                                 CHRISTINA MARTINEZ
15
16                                                   ORDER
17           IT IS SO ORDERED. The sentencing hearing for Christina Martinez is continued to
18   January 8, 2018, at 8:30 a.m.
19
     IT IS SO ORDERED.
20
21       Dated:       October 12, 2017                       /s/ Lawrence J. O’Neill _____
                                                     UNITED STATES CHIEF DISTRICT JUDGE
22
23
24
25
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27
28


      Martinez: Stipulation to Continue Sentencing    -2-
